         Case 9:08-cv-80381-KAM Document 1 Entered on FLSD Docket 04/15/2008 Page 1 of 6


                                                                               April 14, 2008




                                                     08-CV-80381-Marra-Johnson




1 of 6
         Case 9:08-cv-80381-KAM Document 1 Entered on FLSD Docket 04/15/2008 Page 2 of 6




2 of 6
         Case 9:08-cv-80381-KAM Document 1 Entered on FLSD Docket 04/15/2008 Page 3 of 6




3 of 6
         Case 9:08-cv-80381-KAM Document 1 Entered on FLSD Docket 04/15/2008 Page 4 of 6




4 of 6
         Case 9:08-cv-80381-KAM Document 1 Entered on FLSD Docket 04/15/2008 Page 5 of 6




5 of 6
         Case 9:08-cv-80381-KAM Document 1 Entered on FLSD Docket 04/15/2008 Page 6 of 6




6 of 6
